Case 1:22-cv-01466-MN Document 102 Filed 10/04/23 Page 1 of 1 PageID #: 15483




                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE

 AUTONOMOUS DEVICES, LLC,

                               Plaintiff,

                 v.                                           C.A. No. 22-1466 (MN)

 TESLA, INC.,

                               Defendant.


                         NOTICE OF SUBSTITUTION OF COUNSEL

        PLEASE TAKE NOTICE that the appearance of Jack B. Blumenfeld, Brian P. Egan, and

Cameron P. Clark and the law firm of Morris, Nichols, Arsht & Tunnell LLP are hereby

withdrawn and the appearances of Susan E. Morrison and Grayson P. Sundermeir of Fish &

Richardson P.C. are hereby entered on behalf of Tesla, Inc.


MORRIS, NICHOLS, ARSHT &                         FISH & RICHARDSON P.C.
TUNNELL LLP

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